Case 3:24-cv-04471-EMC   Document 190-2   Filed 03/12/25   Page 1 of 29




            EXHIBIT B
    Case 3:24-cv-04471-EMC                   Document 190-2                 Filed 03/12/25             Page 2 of 29


From:             Richard Min
To:               Flores, Rommy; Camilla Redmond
Cc:               Lash Brittani; Jacobson-Kwok Michelle; *** Diasrespondent - External
Subject:          RE: Dias v. Dias: Petitioner"s Declaration - Notice of Visits to the United States - RESPONSE REQUESTED FROM
                  COUNSEL FOR MR. DIAS
Date:             Sunday, December 22, 2024 5:07:45 PM



 This Message Is From an External Sender
 This message came from outside your organization.


Dear Rommy,
We reject your characterizations and misrepresentations.
With respect to the provisions of the stipulated order, here is our response as follows:
No. 8. - Petitioner accepted service of DVRO which is what was required. Whatever arguments he
makes in CA state courts afterwards are not relevant to this matter.
No. 9. - Petitioner submitted a Declaration on this matter on November 18, 2024 stating exactly what was
required pursuant to this provision.
No. 11, No. 12. - Petitioner recently received an email from Terra Firma and will address. We
acknowledge your threat that visitation will cease without further payment.
No. 13. - Petitioner has not given any notice because there are no current plans to travel to CA. We do
not need to confirm with your our discussions with our client on any matter. He is aware of his
obligations.
No. 13.g. - Petitioner has not contacted Respondent, except via OFW. Per our understanding, following
inappropriate comments about Petitioner’s wellbeing by the Respondent, Petitioner has kindly requested
the Responder to avoid such comments and focus exclusively on the Children’s updates.

If you seek to make any frivolous motions, we reserve all rights. Hopefully this addresses your above
concerns without further need of a meet and confer. I have been in depositions all day the past few days
and will be on vacation next week.


_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
420 Lexington Ave. Ste. 2821|New York, NY 10170
O: 212.681.6400|D: 212.257.1944|F: 212.681.6999
rmin@gkmrlaw.com|www.gkmrlaw.com
Fellow of the International Academy of Family Lawyers
_________________________________
ATTENTION:
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immediately.
Disclosure under IRS Circular 230: To ensure compliance with requirements imposed by
the IRS, we inform you that any tax advice contained in this communication (including any
   Case 3:24-cv-04471-EMC                  Document 190-2            Filed 03/12/25          Page 3 of 29


attachments) was not intended or written to be used, and may not be used, for the purpose
of avoiding tax-related penalties under federal, state or local tax law or promoting,
marketing or recommending to another party any transaction or matter addressed therein.

From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Friday, December 20, 2024 9:13 PM
To: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>
Cc: Lash Brittani <brittani@ljtlawgroup.com>; Jacobson-Kwok Michelle
<Michelle@ljtlawgroup.com>; *** Diasrespondent - External <Diasrespondent@gibsondunn.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

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recognize the sender and know the content is safe.


Richard –

We continue to be very concerned about your apparent refusal to engage in meet and confer
efforts with us regarding your client’s violations of various conditions of Judge Chen’s November
13 Order dismissing your client’s Hague petition with prejudice but with certain conduct and other
conditions required.

We are available this weekend or early Monday morning to meet and confer live (zoom,
telephone, Teams, etc.) Otherwise, we will be forced to seek relief before the court.

Thanks,


Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Thursday, December 19, 2024 10:15 AM
To: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>; Azcona R
<lr_azcona@yahoo.com>
Cc: Lash Brittani <brittani@ljtlawgroup.com>; Jacobson-Kwok Michelle
   Case 3:24-cv-04471-EMC              Document 190-2          Filed 03/12/25       Page 4 of 29


<Michelle@ljtlawgroup.com>; *** Diasrespondent - External <Diasrespondent@gibsondunn.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

Richard –

We are gravely concerned that you apparently have ceased to be responsive as counsel for Mr.
Dias. We are writing to inform you that your client is in violation of the stipulated order signed by
Judge Chen on November 13. Specifically:

      No. 8. Requiring Mr. Dias to “accept service and cooperate as to service of custody,
      visitation, and domestic violence pleadings”. In state court yesterday, Mr. Dias argued that
      the California court had no jurisdiction over him in relation to the DVRO proceedings. This
      is in direct contravention to the stipulated order (and Judge Chen’s minute order) requiring
      him to submit to California for jurisdiction of custody, visitation, and domestic violence
      pleadings.
      No. 9. Both you and your client continue to be less than forthright about whether he has
      duly searched for the Children’s original birth certificates and Portuguese consular
      documents that are used for travel. Your client was known to have these in his possession
      at all times and now claims to not be able to locate them. Nevertheless, you have not
      provided an amended declaration of where your client searched, and the steps he took, to
      locate these documents. This is required by the court’s order: “Petitioner cannot locate
      these documents, he is to produce a declaration stating that he cannot locate the
      requested documents and affirm that all documents that can be used to travel
      internationally have been surrendered to the Court. If Petitioner finds any of these
      documents, he must turn them over immediately.”
      No. 11, No.12. The court clearly states that “Until a California state court issues (1) a
      decision on the merits of a domestic violence restraining order or issues a temporary
      domestic violence restraining order or (2) a California state court assumes jurisdiction
      over, and issues a temporary or permanent decision on, legal and physical custody over
      the Children” the Court’s orders for Motions for Access (ECF No. 98] and Further Order
      (ECF No. 106) are in full force and effect. Those orders require that Petitioner pay for the
      costs of Terra Firma [ECF No. 98, paragraph 1(b)] and advance all fees. Yet, he has not
      done so. Ms. Dias will not pay for Terra Firma fees and if Terra Firma does not continue the
      visits without payment, they will simply cease as Terra Firma is the required supervisory
      agency for the visits.
      No. 13. Neither you nor Petitioner’s new attorney Ms. Azcona have agreed to inform Ms.
      Dias’s state counsel that your mutual client will give notice to you/Ms. Dias’s client as to
      when he is in California within 72 hours. We find this lack of transparency extremely
      concerning.
      No. 13(g)(ii). Petitioner has been sending personal messages to Respondent via Our
      Family Wizard about their relationship, in direct violation of Paragraph 13(g)(ii) of the
      Stipulated Order requiring that your client only discuss the Children with Respondent
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       (“Petitioner shall not call, text, email, or otherwise contact Respondent… except as
       otherwise permitted by this Order.”



We are happy to meet and confer with you on these issues tomorrow or Monday 12/23. If we do
not hear back from you by Monday, we will move to show cause before the Court as your client is
in contempt of a federal court order in full force and effect at this time.


Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy
Sent: Monday, December 16, 2024 5:22 PM
To: 'Richard Min' <rmin@gkmrlaw.com>; Davis, Thad A. <TDavis@gibsondunn.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Lash Brittani <brittani@ljtlawgroup.com>; Jacobson-Kwok Michelle <Michelle@ljtlawgroup.com>;
Azcona R <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

Richard — we appreciate you were in trial, but we do need you to confirm you are still counsel to Mr. Dias. We
also do need to confirm and have your client attest this week to searching his black briefcase and which
particular residences and that he still could not locate the materials. Please send the updated declaration as
soon as possible

Given the upcoming hearing and holidays and potential for travel etc., we need that confirmed as soon as
possible. We also need him reminded of the guidelines for OFW and we need proper notice if he travels to the
US.


We received the ECF Notice that Ms. Shindell-DeLacey has withdrawn from the case.

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com
                                                         Case 3:24-cv-04471-EMC                                                                                                                                                                     Document 190-2   Filed 03/12/25   Page 6 of 29


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Richard Min <rmin@gkmrlaw.com>
Sent: Friday, December 13, 2024 1:18 PM
To: Davis, Thad A. <TDavis@gibsondunn.com>; Flores, Rommy <RFlores@gibsondunn.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Lash Brittani <brittani@ljtlawgroup.com>; Jacobson-Kwok Michelle <Michelle@ljtlawgroup.com>;
Azcona R <lr_azcona@yahoo.com>; Shindell DeLacey Kelly <kelly@drsfamilylaw.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS
Thad, Appreciate your email but I just concluded with trial today so playing a bit of catch up. We will take the necessary action and fine with you sending emails to me while we are still on the case. I’m not sure what you are asking though.




Thad,

Appreciate your email but I just concluded with trial today so playing a bit of catch up. We will
take the necessary action and fine with you sending emails to me while we are still on the case.
I’m not sure what you are asking though. Are you asking for me to confirm that Mr. Dias will abide
by the federal order that he is give notice before coming to CA? I am not part of any
conversations with local CA counsel so I can’t speak to that. I, of course, will comply with
providing any information that is required if I have any such information and will relay to Mr. Dias
that the federal court order continues to be in place if that is what you are seeking. I don’t believe
that needs to be reiterated but happy to do so.

_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
rmin@gkmrlaw.com|www.gkmrlaw.com
Fellow of the International Academy of Family Lawyers

Manhattan Office:
420 Lexington Ave. Ste. 2821|New York, NY 10170
T: 212.681.6400|D: 212.257.1944

Long Island Office:
600 Old Country Rd. Ste. 410|Garden City, NY 11530
T: 516.858.2115
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Disclosure under IRS Circular 230: To ensure compliance with requirements imposed by the
IRS, we inform you that any tax advice contained in this communication (including any
attachments) was not intended or written to be used, and may not be used, for the purpose of
avoiding tax-related penalties under federal, state or local tax law or promoting, marketing or
recommending to another party any transaction or matter addressed therein.

From: Davis, Thad A. <TDavis@gibsondunn.com>
Sent: Friday, December 13, 2024 4:10 PM
To: Flores, Rommy <RFlores@gibsondunn.com>
Cc: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>; Waddick,
Nicole <NWaddick@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>; Cheung,
Aaron J. <ACheung@gibsondunn.com>; Lash Brittani <brittani@ljtlawgroup.com>; Jacobson-Kwok
Michelle <Michelle@ljtlawgroup.com>; Azcona R <lr_azcona@yahoo.com>; Shindell DeLacey Kelly
<kelly@drsfamilylaw.com>
Subject: Re: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

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﻿
Richard –

We continue not to understand why you apparently refuse to respond to the simple questions
below. We remind you that you are an officer of the court and as such you have certain
obligations. If you still represent Mr. Dias, please confirm. If you still represent Mr. Dias, can you
also please confirm that you will advise Ms. Dias’ counsel should your client be in California at
least 72 hours before such time. The Court’s conditions on the dismissal of the Hague case were
premised on the CA state court taking over jurisdiction, which it has not yet done (and may not
even do on 12/18 if that matter is continued). If you no longer represent Mr. Dias, you are
required to withdraw from his case and seek Court permission to do so. We have not gotten any
notification from ECF that that has been done. Again, we will not be contacting your client when
he is duly represented by both you and Ms. Azcona.

Additionally, you and Ms. Shindell DeLacey both appeared in the Hague matter. You are both
required by the N.D. California Local Rules to withdraw by order of the Court.  See L.R. 11-5
“Withdrawal from Case” (“Counsel may not withdraw from an action until relieved by order of the
Court after written notice has been provided, reasonably in advance, to the client and to all other
parties who have appeared in the case”).
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Please respond to our inquiries today, or it will necessitate that we flag this and the resulting
potential safety issue around observing of the existing conduct order to the Court. As Mr. Dias’
new, additional family law counsel Ms. Azcona has expressly disavowed observing any Court
ordered conduct order she “didn’t negotiate” and has strangely injected issues of financial
“surety” into this as an excuse for not carrying out the conduct order we are left to seek whatever
relief it takes to keep Ms. Dias and the children safe.

Regards,

Thad A. Davis
Partner

T: +1 415.393.8251 M: +1 415 730 5434
TDavis@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
One Embarcadero Center Suite 2600, San Francisco, CA 94111-3715


On 11/12/2024, at 14:44, Flores, Rommy <RFlores@gibsondunn.com> wrote:

﻿
Additionally, if you are no longer representing him, you need to withdraw as counsel by court
order.

https://cand.uscourts.gov/rules/civil-local-rules/

So please clear this up for us. We will not contact a person that is represented by multiple
counsel.

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy
Sent: Wednesday, December 11, 2024 10:07 AM
To: 'Richard Min' <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
                                                   Case 3:24-cv-04471-EMC                                                                                                                                                                    Document 190-2   Filed 03/12/25   Page 9 of 29


Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS


Richard –

Are you/your firm no longer representing him? Can you please confirm one way or the other?

Thanks,

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Richard Min <rmin@gkmrlaw.com>
Sent: Wednesday, December 11, 2024 10:04 AM
To: Flores, Rommy <RFlores@gibsondunn.com>; Camilla Redmond <credmond@gkmrlaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: Re: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

He asked that you reach out to him directly. From: Flores, Rommy <RFlores@ gibsondunn. com> Sent: Wednesday, December 11, 2024 1: 00: 28 PM To: Richard Min <rmin@ gkmrlaw. com>; Camilla Redmond <credmond@ gkmrlaw. com> Cc: Davis, Thad




He asked that you reach out to him directly.

From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Wednesday, December 11, 2024 1:00:28 PM
To: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS
   Case 3:24-cv-04471-EMC                 Document 190-2             Filed 03/12/25         Page 10 of 29


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recognize the sender and know the content is safe.


@Richard Min @Camilla Redmond: Can you please respond to the below?

Thanks so much,
Rommy

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy
Sent: Tuesday, December 10, 2024 5:50 PM
To: 'Kelly Shindell DeLacey' <kelly@drsfamilylaw.com>; Richard Min <rmin@gkmrlaw.com>; Camilla
Redmond <credmond@gkmrlaw.com>; Maria Garrett de Liévano <maria@drsfamilylaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS

Thanks, Kelly. Appreciate the update. @Richard Min: can you advise on your current role?

Is Mr. Dias currently pro so as to the Hague matter as well? While the case has been dismissed,
there are conditions attached that do not expire until CA state court takes over, so we’d like to
know who we are supposed to be in contact with regarding the conditions that Mr. Dias agreed to
before a federal court.

Thanks,
Rommy

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com
                                             Case 3:24-cv-04471-EMC                                                                                                                                                                                Document 190-2   Filed 03/12/25   Page 11 of 29


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Kelly Shindell DeLacey <kelly@drsfamilylaw.com>
Sent: Tuesday, December 10, 2024 4:42 PM
To: Flores, Rommy <RFlores@gibsondunn.com>; Richard Min <rmin@gkmrlaw.com>; Camilla
Redmond <credmond@gkmrlaw.com>; Maria Garrett de Liévano <maria@drsfamilylaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
REQUESTED FROM COUNSEL FOR MR. DIAS
Rommy: My firm is not representing Mr. Dias in his California family law action and are no longer involved in the Hague matter now that is has resolved. I have informed Ms. Jacobson-Kwok of this previously. Kelly J. Shindell DeLacey Partner




Rommy:

My firm is not representing Mr. Dias in his California family law action and are no longer involved
in the Hague matter now that is has resolved. I have informed Ms. Jacobson-Kwok of this
previously.

Kelly J. Shindell DeLacey
Partner
<image001.png>
DeLacey, Riebel & Shindell
180 Montgomery St, Suite 1900
San Francisco, CA, 94104

Tel: (415) 528-7000
Dir: (415) 528-5408
Fax: (415) 528-7001
Email: kelly@drsfamilylaw.com
Website: www.drsfamilylaw.com
____________________
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work product. If you are not the addressee, you are not authorized to review this email for any purpose, and the sender requests this message be immediately deleted.



From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Tuesday, December 10, 2024 4:14 PM
To: Richard Min <rmin@gkmrlaw.com>; Camilla Redmond <credmond@gkmrlaw.com>; Kelly
Shindell DeLacey <kelly@drsfamilylaw.com>; Maria Garrett de Liévano <maria@drsfamilylaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>; Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; R
Azcona <lr_azcona@yahoo.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States - RESPONSE
   Case 3:24-cv-04471-EMC              Document 190-2         Filed 03/12/25       Page 12 of 29


REQUESTED FROM COUNSEL FOR MR. DIAS
Importance: High

Richard, Camilla, Maria, and Kelly –

Your client is subject to a federal court order that requires him to inform Ms. Dias’s attorneys as
to when/where he will be in CA within 72 hours, among many other conditions (see attached).
Ms. Azcona below notes that she is not his attorney for these purposes. But our responses to
your teams have gone unanswered and our inquiries ignored. Kelly/Maria: Can you please
inform us who represents Mr. Dias and for what purposes? Mr. Dias cannot avoid responsibility
per a federal court order based on having different attorneys for different matters; someone
represents him as to family matters which we believed was Ms. Shindell DeLacey. If that has
changed, please inform as at once if he has other representation for his family law matters and
who that representation is. If Mr. Dias is proceeding pro se on the family law matters, we’d like to
know that as well.

Richard/Camilla – you represent Mr. Dias in relation to his Hague petition. Does that
representation continue now as the federal court order is still very much in effect until such time
that the state court takes over. Can you confirm that you still represent Mr. Dias as well? If not, can
you advise if he is proceeding pro se on his Hauge-related matters?

Please let us know as soon as possible.

Thanks,
Rommy

Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: R Azcona <lr_azcona@yahoo.com>
Sent: Tuesday, December 10, 2024 3:56 PM
To: Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; Flores, Rommy
<RFlores@gibsondunn.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>;
Feldman, Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Brittani Lash <brittani@ljtlawgroup.com>
                                           Case 3:24-cv-04471-EMC                                                                                                                                                                                         Document 190-2             Filed 03/12/25   Page 13 of 29


Subject: Re: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States
Leslie Robin Azcona Attorney at Law SB#164279 3478 Buskirk Avenue #261 Pleasant Hill, CA 94523 (925) 596 - 0107 (925) 969-9688 FAX lr_azcona@ yahoo. com Dear Rommey Flores: No. I was not the attorney who negotiated the stipulation on his behalf,




                                                                                                                                                                                                                                                              Leslie Robin Azcona
                                                                                                                                                                                                                                                                 Attorney at Law
                                                                                                                                                                                                                                                                   SB#164279

                                                                                                                                                                                                                                                            3478 Buskirk Avenue #261
                                                                                                                                                                                                                                                               Pleasant Hill, CA 94523
                                                                                                                                                                                                                                                        (925) 596 - 0107 (925) 969-9688 FAX
                                                                                                                                                                                                                                                               lr_azcona@yahoo.com




Dear Rommey Flores:

No.

I was not the attorney who negotiated the stipulation on his behalf, and I am not his personal surety.

I have forwarded this information to Mr. Dias.

Yours truly,



Leslie Robin Azcona
Attorney at Law
(925) 596 - 0107
lr_azcona@yahoo.com




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reading or saving in any manner. Thank you.




On Tuesday, December 10, 2024 at 03:11:57 PM PST, Flores, Rommy <rflores@gibsondunn.com> wrote:



Thank you – can you confirm that for any upcoming visits in person you will ensure that Mr. Dias
gives our client’s family attorney (Michelle and Brittani) at least 72 hours’ notice before coming to
CA?


Thanks,
   Case 3:24-cv-04471-EMC                Document 190-2            Filed 03/12/25        Page 14 of 29


Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197

                                            Leslie Robin Azcona
                                                Attorney at Law
                                                  SB#164279

                                          3478 Buskirk Avenue #261
                                             Pleasant Hill, CA 94523
                                      (925) 596 - 0107 (925) 969-9688 FAX
                                             lr_azcona@yahoo.com




Dear :



Yours truly,



Leslie Robin Azcona
Attorney at Law
(925) 596 - 0107
lr_azcona@yahoo.com




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From: R Azcona <lr_azcona@yahoo.com>
Sent: Tuesday, December 10, 2024 2:49 PM
To: Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>; Flores, Rommy
<RFlores@gibsondunn.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole
<NWaddick@gibsondunn.com>; Hesse, Danielle <DHesse@gibsondunn.com>; Feldman,
Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
                                              Case 3:24-cv-04471-EMC                                                                                                                                                                                   Document 190-2   Filed 03/12/25   Page 15 of 29


Brittani Lash <brittani@ljtlawgroup.com>
Subject: Re: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States


Thank you. I will forward this e mail to Mr. Dias. He will not be coming to the US for the 12/18/24 hearing. He will appear remotely. He will also be making a special appearance remotely at a hearing set for January 8, 2024. Leslie Robin Azcona




Thank you.



I will forward this e mail to Mr. Dias.



He will not be coming to the US for the 12/18/24 hearing. He will appear remotely. He will also be making a special
appearance remotely at a hearing set for January 8, 2024.



Leslie Robin Azcona



On Tuesday, December 10, 2024 at 02:10:54 PM PST, Flores, Rommy <rflores@gibsondunn.com> wrote:




Ms. Azcona –



Attached is the federal court order in effect for this case until such time that the California state court
takes over for purposes of custody. Mr. Dias’s Hague counsel and his (former?) counsel Ms.
Shindell DeLacey have been unresponsive to our requests for a response.



Mr. Dias must –according to Judge Chen of the Central District of California – give at least 72
hours’ notice before he lands in California. The court order lays out the exact parameters and
conditions Mr. Dias must adhere to lest he be in violation of a federal court order.



Thanks,

Rommy



Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
                                           Case 3:24-cv-04471-EMC                                                                                                                                                                                       Document 190-2                Filed 03/12/25   Page 16 of 29


‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: R Azcona <lr_azcona@yahoo.com>
Sent: Tuesday, December 10, 2024 2:04 PM
To: Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>
Cc: Flores, Rommy <RFlores@gibsondunn.com>; Davis, Thad A.
<TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
Cheung, Aaron J. <ACheung@gibsondunn.com>; Brittani Lash <brittani@ljtlawgroup.com>
Subject: Re: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States


Leslie Robin Azcona Attorney at Law SB#164279 3478 Buskirk Avenue #261 Pleasant Hill, CA 94523 (925) 596 - 0107 (925) 969-9688 FAX lr_azcona@ yahoo. com Dear Michelle Jacobson-Kwok: Mr. Dias will not be physically present on December 18, 2024.




                                                                                                                                                                                                                                                            Leslie Robin Azcona

                                                                                                                                                                                                                                                               Attorney at Law

                                                                                                                                                                                                                                                                 SB#164279

                                                                                                                                                                                                                                                          3478 Buskirk Avenue #261

                                                                                                                                                                                                                                                            Pleasant Hill, CA 94523

                                                                                                                                                                                                                                                      (925) 596 - 0107 (925) 969-9688 FAX

                                                                                                                                                                                                                                                            lr_azcona@yahoo.com




Dear Michelle Jacobson-Kwok:



Mr. Dias will not be physically present on December 18, 2024. I will forward this message to him. I would
imagine any trips to this country would involve visitation, so there would be more than ample notice to
coordinate those plans.



I was in trial last week, am out all day tomorrow, and am still reviewing the documents available to me in
this case. I do not know whether we will be asking to continue this matter - as discussed, there are
jurisdictional issues with witnesses, documents and authentication.



Yours truly,
   Case 3:24-cv-04471-EMC                Document 190-2           Filed 03/12/25         Page 17 of 29




Leslie Robin Azcona

Attorney at Law

(925) 596 - 0107

lr_azcona@yahoo.com




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reading or saving in any manner. Thank you.




On Tuesday, December 10, 2024 at 11:39:03 AM PST, Michelle Jacobson-Kwok <michelle@ljtlawgroup.com>
wrote:




Hello Leslie,



Further to our conversation last week, it’s my understanding that your client is planning to request a
continuance of the 12/18 hearing. Can you confirm that is still his intention?


Further, per the “exit” orders from the Hague case, he is to provide us with at least 72 hours’ notice
if he intends to enter the country. His Hague counsel have been unresponsive to Rula’s counsel’s
request for update regarding same. Does he plan to be physically present on 12/18 or will he be
abroad for the hearing?



Thank you,
   Case 3:24-cv-04471-EMC               Document 190-2           Filed 03/12/25        Page 18 of 29


Michelle Jacobson-Kwok

CFLS*

List Jacobson-Kwok Thorndal, LLP

3645 Grand Avenue, Suite 202

Oakland, CA 94610

Telephone:   510-302-6600

Facsimile:       510-302-6611



<image002.png>


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PLEASE TAKE NOTICE. I will be unavailable for all purposes on the following dates: November 15 and
22-29, 2024; December2-4, 9-11, 17, 23-27 and 31, 2024; January 1, 9 and 14-21, 2025. During said
period, I will be unavailable for any purpose whatsoever, including but not limited to receiving notices of
any kind, responding to ex parte applications, appearing in court or at depositions, drafting of pleadings,
responding to motions, responding to discovery requests, or providing legal services in the above matter.

You are advised to read Tenderloin Housing Clinic, Inc. v. Sparks, 8 Cal. App.4th 299 regarding the
availability of sanctions for purposefully scheduling a conflicting proceeding without good cause.




From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Tuesday, December 10, 2024 10:33 AM
To: Richard Min <rmin@gkmrlaw.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
Kelly Shindell DeLacey <kelly@drsfamilylaw.com>; Garrett de Liévano Maria
<maria@drsfamilylaw.com>; Camilla Redmond <credmond@gkmrlaw.com>
   Case 3:24-cv-04471-EMC         Document 190-2       Filed 03/12/25     Page 19 of 29


Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole
<NWaddick@gibsondunn.com>; Hesse, Danielle <DHesse@gibsondunn.com>; Feldman,
Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Michelle Jacobson-Kwok <Michelle@ljtlawgroup.com>; Brittani Lash
<brittani@ljtlawgroup.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States


All –



Following up on the below.



Thanks,

Rommy



Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy
Sent: Wednesday, December 4, 2024 2:48 PM
To: 'Richard Min' <rmin@gkmrlaw.com>; 'Michael Banuchis' <MBanuchis@gkmrlaw.com>;
'Kelly Shindell DeLacey' <kelly@drsfamilylaw.com>; 'Garrett de Liévano Maria'
<maria@drsfamilylaw.com>; 'Camilla Redmond' <credmond@gkmrlaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole
<NWaddick@gibsondunn.com>; Hesse, Danielle <DHesse@gibsondunn.com>; Feldman,
Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
'Michelle Jacobson-Kwok' <Michelle@ljtlawgroup.com>; 'Brittani Lash'
<brittani@ljtlawgroup.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States


Hi Kelly, Maria –
   Case 3:24-cv-04471-EMC            Document 190-2          Filed 03/12/25      Page 20 of 29


Checking in on this again.


Thanks,

Rommy



Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Flores, Rommy
Sent: Tuesday, December 3, 2024 9:28 AM
To: 'Richard Min' <rmin@gkmrlaw.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
Kelly Shindell DeLacey <kelly@drsfamilylaw.com>; Garrett de Liévano Maria
<maria@drsfamilylaw.com>; Camilla Redmond <credmond@gkmrlaw.com>
Cc: Davis, Thad A. <TDavis@gibsondunn.com>; Waddick, Nicole
<NWaddick@gibsondunn.com>; Hesse, Danielle <DHesse@gibsondunn.com>; Feldman,
Will <WFeldman@gibsondunn.com>; Cheung, Aaron J. <ACheung@gibsondunn.com>;
Michelle Jacobson-Kwok <Michelle@ljtlawgroup.com>; 'Brittani Lash'
<brittani@ljtlawgroup.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration - Notice of Visits to the United States


Richard, Kelly et al. –



Given that the first state court hearing is upcoming on December 18, we wanted to flag for you the
requirement in the Judge’s dismissal order that Casimiro is to give 72 hours notice to Rula’s state
counsel if he intends to be in the United States.



Can you please confirm that you will inform Michelle Jacobson-Kwok and Brittani Lash, Rula’s
state law attorneys (cc’d here), should Casimiro travel to the United States?



Thanks very much,

Rommy
                                          Case 3:24-cv-04471-EMC                                                                                                                                                                                        Document 190-2   Filed 03/12/25   Page 21 of 29


Rommy Flores
Associate Attorney

T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

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Gibson, Dunn & Crutcher LLP
‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Richard Min <rmin@gkmrlaw.com>
Sent: Wednesday, November 27, 2024 3:07 PM
To: Flores, Rommy <RFlores@gibsondunn.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Davis, Thad A.
<TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis
<MBanuchis@gkmrlaw.com>; Kelly Shindell DeLacey <kelly@drsfamilylaw.com>; Garrett
de Liévano Maria <maria@drsfamilylaw.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration


Rommy, he says he checked the briefcase and did not locate the documents there. _________________________________ Richard Min|Green Kaminer Min & Rockmore LLP 420 Lexington Ave. Ste. 2821|New York, NY 10170 O: 212. 681. 6400|D: 212. 257. 1944|F:




Rommy, he says he checked the briefcase and did not locate the documents there.


_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
420 Lexington Ave. Ste. 2821|New York, NY 10170
O: 212.681.6400|D: 212.257.1944|F: 212.681.6999

rmin@gkmrlaw.com|www.gkmrlaw.com
Fellow of the International Academy of Family Lawyers

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    From: Flores, Rommy <RFlores@gibsondunn.com>
    Sent: Tuesday, November 26, 2024 8:10 PM
    To: Richard Min <rmin@gkmrlaw.com>
    Cc: Camilla Redmond <credmond@gkmrlaw.com>; Davis, Thad A.
    <TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
    Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
    Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis
    <MBanuchis@gkmrlaw.com>; Kelly Shindell DeLacey <kelly@drsfamilylaw.com>; Garrett
    de Liévano Maria <maria@drsfamilylaw.com>
    Subject: Re: Dias v. Dias: Petitioner's Declaration



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    Hi Richard, Kelly —



    Any update on this?



    Thanks,

    Rommy

    Rommy Flores
    Associate Attorney

    T: +1 213.229.7966 | M: +1 213.335.1672
    RFlores@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌333 South Grand Avenue, Los Angeles, CA 90071-3197


    On Nov 24, 2024, at 8:55 AM, Flores, Rommy <RFlores@gibsondunn.com> wrote:

﻿

    Thanks, Richard. Please let us know when you are able.



    Rommy Flores
    Associate Attorney
                                          Case 3:24-cv-04471-EMC                                                                                                                                                                                                 Document 190-2   Filed 03/12/25   Page 23 of 29


T: +1 213.229.7966 | M: +1 213.335.1672
RFlores@gibsondunn.com

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‌333 South Grand Avenue, Los Angeles, CA 90071-3197




From: Richard Min <rmin@gkmrlaw.com>
Sent: Sunday, November 24, 2024 2:54 AM
To: Flores, Rommy <RFlores@gibsondunn.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Davis, Thad A.
<TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis
<MBanuchis@gkmrlaw.com>; Shindell DeLacey Kelly <kelly@drsfamilylaw.com>; Garrett
de Liévano Maria <maria@drsfamilylaw.com>
Subject: RE: Dias v. Dias: Petitioner's Declaration


Ok, will follow up with him. Thanks. _________________________________ Richard Min|Green Kaminer Min & Rockmore LLP 420 Lexington Ave. Ste. 2821|New York, NY 10170 O: 212. 681. 6400|D: 212. 257. 1944|F: 212. 681. 6999 rmin@ gkmrlaw. com|www. gkmrlaw. com




Ok, will follow up with him. Thanks.


_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
420 Lexington Ave. Ste. 2821|New York, NY 10170
O: 212.681.6400|D: 212.257.1944|F: 212.681.6999

rmin@gkmrlaw.com|www.gkmrlaw.com
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                                              Case 3:24-cv-04471-EMC                                                                                                                                                                                                                   Document 190-2   Filed 03/12/25   Page 24 of 29


From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Saturday, November 23, 2024 11:55 AM
To: Richard Min <rmin@gkmrlaw.com>
Cc: Camilla Redmond <credmond@gkmrlaw.com>; Davis, Thad A.
<TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
Cheung, Aaron J. <ACheung@gibsondunn.com>; Michael Banuchis
<MBanuchis@gkmrlaw.com>; Shindell DeLacey Kelly <kelly@drsfamilylaw.com>; Garrett
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Subject: Re: Dias v. Dias: Petitioner's Declaration



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    Richard,



    We understand that Petitioner has a black briefcase where he keeps these documents and that he generally has that
    with him and had it with him in Armenia. Specifically, Respondent notes that for travel the family used the US
    consular documents turned over to the court but also used the Conservatória do Registo Civil Lisboa for all three
    children in the alternative. Can you please follow up with Mr Dias again on whether he has this black briefcase and
    whether these documents are there. If not, we think his declaration needs to be updated to include the steps taken to
    look for/locate these specific travel documents that can be used without any US identification.



    Thanks so much,

    Rommy



    Rommy Flores
    Associate Attorney

    T: +1 213.229.7966 | M: +1 213.335.1672
    RFlores@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌333 South Grand Avenue, Los Angeles, CA 90071-3197


    On Nov 21, 2024, at 11:11 AM, Richard Min <rmin@gkmrlaw.com> wrote:

﻿
    Casimiro had the houses in Lisbon and Algarve checked. _________________________________ Richard Min|Green Kaminer Min & Rockmore LLP 420 Lexington Ave. Ste. 2821|New York, NY 10170 O: 212. 681. 6400|D: 212. 257. 1944|F: 212. 681. 6999 rmin@ gkmrlaw. com|www. gkmrlaw. com




    Casimiro had the houses in Lisbon and Algarve checked.
   Case 3:24-cv-04471-EMC                   Document 190-2              Filed 03/12/25          Page 25 of 29



_________________________________
Richard Min|Green Kaminer Min & Rockmore LLP
420 Lexington Ave. Ste. 2821|New York, NY 10170
O: 212.681.6400|D: 212.257.1944|F: 212.681.6999

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From: Flores, Rommy <RFlores@gibsondunn.com>
Sent: Thursday, November 21, 2024 9:22 AM
To: Camilla Redmond <credmond@gkmrlaw.com>; Davis, Thad A.
<TDavis@gibsondunn.com>; Waddick, Nicole <NWaddick@gibsondunn.com>; Hesse,
Danielle <DHesse@gibsondunn.com>; Feldman, Will <WFeldman@gibsondunn.com>;
Cheung, Aaron J. <ACheung@gibsondunn.com>
Cc: Richard Min <rmin@gkmrlaw.com>; Michael Banuchis <MBanuchis@gkmrlaw.com>;
DeLacey Kelly Shindell <kelly@drsfamilylaw.com>; Garrett de Liévano Maria
<maria@drsfamilylaw.com>
Subject: Re: Dias v. Dias: Petitioner's Declaration



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Camilla, Richard —



Following up on this. Can you please update.



Thanks!
       Case 3:24-cv-04471-EMC             Document 190-2          Filed 03/12/25   Page 26 of 29


    Rommy

    Rommy Flores
    Associate Attorney

    T: +1 213.229.7966 | M: +1 213.335.1672
    RFlores@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌333 South Grand Avenue, Los Angeles, CA 90071-3197


    On Nov 18, 2024, at 2:10 PM, Flores, Rommy <RFlores@gibsondunn.com> wrote:

﻿

    Thanks, Camilla.



Can you confirm that Mr. Dias has not yet searched his other homes for the documents? The
declaration notes that he has searched only one in Portugal. And if he has not searched the other
homes, is he planning on doing so? Per Respondent, the family generally used the U.S. Consular
documents and the Children’s original birth certificates for travel, and these were with the family in
Armenia or in Portugal, and Respondent did not take them with her when she fled Armenia in April
2024.



    Rommy Flores
    Associate Attorney

    T: +1 213.229.7966 | M: +1 213.335.1672
    RFlores@gibsondunn.com

    GIBSON DUNN
    Gibson, Dunn & Crutcher LLP
    ‌333 South Grand Avenue, Los Angeles, CA 90071-3197




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Subject: Dias v. Dias: Petitioner's Declaration
                                            Case 3:24-cv-04471-EMC                                                                                                                                                                               Document 190-2   Filed 03/12/25   Page 27 of 29



Dear Counsel, Attached please find Casimiro's declaration in accordance with Paragraph 9 of the stipulated order for dismissal (ECF No. 185). Kind regards, Camilla Camilla Redmond Costa| Green Kaminer Min & Rockmore LLP 420 Lexington Ave.




Dear Counsel,



Attached please find Casimiro's declaration in accordance with Paragraph 9 of the stipulated order for dismissal
(ECF No. 185).



Kind regards,

Camilla



Camilla Redmond Costa| Green Kaminer Min & Rockmore LLP
420 Lexington Ave. Ste. 2821|New York, NY 10170
O: 212.681.6400|F: 212.681.6999

credmond@gkmrlaw.com|www.gkmrlaw.com

_________________________________

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